                                         UNITED STATES DISTRICT COURT
                      Case 2:09-cr-00013-JAM
                                      EASTERN Document  18CALIFORNIA
                                              DISTRICT OF   Filed 02/04/09 Page 1 of 1

UNITED STATES OF AMERICA                                  )
                                                          )        CR. 2:09-cr-00013-LKK-1
                 v.                                       )
                                                          )
       JESSY AVERHART                                     )

                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee: JESSY AVERHART
Detained at (custodian): Anchorage Correctional Complex
Detainee is:             a.)   () charged in this district by:    (X) Indictment () Information () Complaint
                                  charging detainee with: _Conspiracy to Distribute and To Possess with Intent to
                                                              Distribute Methamphetamine and Heroin
                or       b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)    () return to the custody of detaining facility upon termination of proceedings
                 or       b.)    (X) be retained in federal custody until final disposition of federal charges, as a sentence
                                      is currently being served at the detaining facility

        Appearance is necessary on or before March 3, 2009 in the Eastern District of California.

                                 Signature:                        _/s/ Mary L. Grad
                                 Printed Name & Phone No:          _MARY L. GRAD
                                 Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on or before March 3rd 2009, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.

Date: February 3, 2009.




_________________________________________________________________________________________________
Please provide the following, if known:
AKA(s) (if applicable):           _____________________________________________   Male X Female
Booking or CDC #:                 _483535________________                         DOB: 05/14/1975
Facility Address:                 Anchorage Correctional Complex______________    Race: WHITE
                                 1400 East 4th, Anchorage, Alaska, 99501       __ FBI #:
Mailing Address:                  1400 East 4th, Anchorage, Alaska, 99501
Facility Phone:                   _907-269-4100_________________
Currently Incarcerated For:       _Assault and Robbery__________________________

_________________________________________________________________________________________________
                                                   RETURN OF SERVICE
Executed on      ____________________________                  By: ___________________________________________________
                                                                   (Signature)
